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                                                                                               FiLED
                                                                                             u.s. DlSTRICT COURT
                                                                                         EASTERN DISTRICT ARKANSAS
                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF ARKANSAS

                                NORTHERN DIVISION


DODY BUSH-RETHERFORD,                             )

                                                  )

                       Plaintiff,                 )

                                                  )         1 • 1 0 • C V - 0 02 91R'	 .
       v.	                                        )

                                                  )

BERLIN WHEELER, INC.,                             )           This case assigned to District Jud99~"'::;-""';""' _ _
                                                  )           and to FIiJagistratf21 ,jf1dgEL,
                       Defendant.                 )

                                           COMPLAINT

       NOW COMES the Plaintiff, DODY BUSH-RETHERFORD, by and through her

attorneys, LARRY P. SMITH & ASSOCIATES, LTD., and for her complaint against the

Defendant, BERLIN WHEELER, INC., Plaintiff states as follows:

                                I.        PRELIMINARY STATEMENT

        1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter "FDCPA"), 15 U.S.C. §I692, et seq.

                                    II.    JURISDICTION & VENUE

       2.       Jurisdiction arises under the FDCPA, 15 U.S.C. §I692 et seq., and pursuant to 28

U.S.C. §133I and 28 U.S.C. §1337.

       3.       Venue is proper in this district pursuant to 28 U.S.c. §139I(b).

                                           III.        PARTIES

       4.       DODY BUSH-RETHERFORD, (hereinafter, "Plaintiff') is an individual who

was at all relevant times residing in the City of Violet Hill, County ofIzard, State of Arkansas.




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        5.       BERLIN WHEELER, INC., (hereinafter, "Defendant") is a business entity

engaged in the collection of debt within the State of Arkansas. Defendant is incorporated in the

State of Missouri.

        6.       In its dealings with Plaintiff, Defendant held itself out as being a company

collecting a debt allegedly owed by Plaintiff.

        7.       At all relevant times, Plaintiff was a "consumer" as that term is defined by 15

U.S.C. §1692a(3).

        8.       At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

                                        IV.      ALLEGATIONS

        9.       In or around February 16, 2010, Miss Day, a duly authorized representative of

Defendant, initiated a telephone call to Plaintiff in an attempt to collect a debt allegedly owed by

Plaintiff.

        10.      The debt allegedly owed by Plaintiff was incurred primarily for personal, family,

or household services.

        11.      During the course of the aforementioned telephone call, Defendant failed to

advise Plaintiff that it was a debt collector, that it was attempting to collect a debt and that any

information obtained would be used for that purpose.

        12.      On or about February 17, 2010, Defendant initiated a telephone call to Plaintiff

and stated that Plaintiff was required to pay Defendant for the debt she allegedly owed.

        13.      During the course of the aforementioned telephone call between Plaintiff and

Defendant, Defendant stated that it would only accept payment from Plaintiff via automated

debit payments from a checking account.



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        14.      During the course of the aforementioned telephone call between Plaintiff and

Defendant, Defendant stated that Plaintiff must set up the account and the automated payments

by March 17, 2010. Defendant further stated that Plaintiffs failure to do so would result in

Defendant filing a lawsuit against Plaintiff.

        15.      During the course of the aforementioned telephone call, Plaintiff advised

Defendant that she could make payments against the debt she allegedly owed in the amount of

$30.00 per month.

        16.      Defendant refused to accept said offer and advised Plaintiff that if she cannot pay

any more she must get a loan to make payments to Defendant.

        17.      During the course of the aforementioned telephone call between Plaintiff and

Defendant, Defendant reiterated that if payment was not received by automated payment in the

amount of $50.00 per month, it would initiate a lawsuit against her for the debt she allegedly

owes.

        18.      Defendant has not filed a lawsuit against Plaintiff for the debt she allegedly owes.

        19.      Upon information and belief, at the time of making the aforementioned threat,

Defendant had no intention of filing a lawsuit against Plaintiff for the debt she allegedly owes.

        20.      Upon information and belief, Defendant has no authority to file a lawsuit against

Plaintiff for the debt she allegedly owes.

        21.      Upon information and belief, at the time of making the aforementioned threat,

Defendant had no authority to file a lawsuit against Plaintiff for the debt she allegedly owes.

        22.      During the course of the aforementioned telephone call, Defendant stated that if

Plaintiff did not pay the debt she allegedly owed then Defendant would place a lien on Plaintiff's

home.



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       23.      During the course of the aforementioned telephone call, Defendant stated that if

Plaintiff did not pay the debt she allegedly owed, Defendant would garnish Plaintiffs wages.

       24.      At the time Defendant made the aforementioned threat to have Plaintiffs wages

garnished, no lawsuit had been filed against Plaintiff for the debt she allegedly owed.

       25.      At the time Defendant made the aforementioned threat to have Plaintiffs wages

garnished, no judgment had been entered against Plaintiff for the debt she allegedly owed.

       26.      The debt allegedly owed by Plaintiff is not a debt that can proceed to garnishment

without Defendant first having secured a judgment against Plaintiff for the alleged debt.

       27.      Since January of201O, and on multiple occasions, Plaintiff has initiated telephone

calls to Defendant and Defendant has intentionally disconnected the telephone calls after

Plaintiff requested the identity of Defendant's duly authorized representatives.

       28.      On or about March 10, 2010, Hillary, a duly authorized representative of

Defendant, initiated a telephone call to Plaintiff and failed to advise Plaintiff that it was a debt

collector, that it was attempting to collect a debt and that any information obtained would be

used for that purpose.

       29.      In its attempts to collect the debt allegedly owed by Plaintiff, Defendant violated

the FDCPA, 15 U.S.c. §1692, in one or more ofthe following ways:

                a.	 Engaged in conduct the natural consequence of which is to harass, oppress or
                    abuse any person in connection with the collection of a debt in violation of 15
                    U.S.C. §1692d;

                b.	 Placed a telephone call to a consumer without meaningful disclosure of the
                    caller's identity in violation of 15 U.S.c. §1692d(6);

                c.	 Used false, deceptive, misleading and unfair or unconscionable means to
                    collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

                d.	 Represented or implied that nonpayment of any debt will result in the arrest or
                    imprisonment of any person or the seizure, garnishment, attachment, or sale of


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                    any property or wages of any person unless such action is lawful and the debt
                    collector or creditor intends to take such action in violation of 15 U.S.C.
                    §1692e(4);

               e.	 Threatened to take action that cannot legally or is not intended to be taken in
                   violation of 15 U.S.C. §1692e(5);

               f.	 Used any false representation or deceptive means to collect or attempt to
                   collect any debt or to obtain information concerning the consumer in violation
                   of 15 U.S.C. §1692e(l0);

               g.	 Failed to disclose in communications that said communication was from a
                   debt collector and that any information obtained during the communication
                   will be used for the purpose of collecting a debt in violation of 15 U.S.C.
                   §1692e(1l);

               h.	 Used unfair and/or unconscionable means to collect or attempt to collect a
                   debt in violation of 15 U.S.C. §1692f; and,

               i.	 Was otherwise deceptive and failed to comply with the provisions of the
                   FDCPA.

        30.    As a result of Defendant's violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                      V.      JURY DEMAND

        31.    Plaintiff hereby demands a trial by jury on all issues so triable.

                                   VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, DODY BUSH-RETHERFORD, by and through her attorneys,

respectfully prays for judgment as follows:

               a.      All actual compensatory damages suffered;

               b.      Statutory damages of$I,OOO.OO;

               c.      Plaintiff's attorneys' fees and costs;

               d.      Any other relief deemed appropriate by this Honorable Court.




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  Dated: April 22, 20 10

  David M. Marco (Atty. No.: 6273315)

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